                                              United States Bankruptcy Court
                                             Northern District of California
In re:                                                                                                     Case No. 19-30232-HLB
Munchery, Inc.                                                                                             Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0971-3                  User: bgapuz                       Page 1 of 2                          Date Rcvd: Sep 14, 2020
                                      Form ID: pdfeoc                    Total Noticed: 6


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 16, 2020.
aty            +Daniel M. Eliades,   K&L Gates LLP,   1 Newark Center, 10th Fl.,    Newark, NJ 07102-5237
aty            +David S. Catuogno,   K&L Gates LLP,   1 Newark Center, 10th Fl.,    Newark, NJ 07102-5237
aty            +Pachulski Stang Ziehl & Jones LLP,   150 California St.,   15th Floor,
                 San Francisco, CA 94111-4554
consult        +Armanino, LLP,   12657 Alcosta Blvd., Suite 500,   San Ramon, CA 94583-4406
               +Gail C. Lin,   Outten & Golden LLP,   One California Street, Suite 1250,
                 San Francisco, CA 94111-5470
rspi           +James Beriker,   220 Shaw Rd.,   South San Francisco, CA 94080-6604

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
op*              +Armanino, LLP,   12657 Alcosta Blvd., Suite 500,   San Ramon, CA 94583-4406
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 16, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 14, 2020 at the address(es) listed below:
              Ariella T. Simonds    on behalf of Interested Party    TableArt Inc. asimonds@ktbslaw.com
              Christopher Celentino     on behalf of Creditor    PayPal, Inc. sometimes doing business as
               Braintree chris.celentino@dinsmore.com, caron.burke@dinsmore.com
              David J. Cook    on behalf of Creditor    Performance Food Group, Inc.
               cook@squeezebloodfromturnip.com
              Eric M. Kyser    on behalf of Creditor    Riviera Produce Corp. ekyser@martynlawfirm.com,
               admin@martynlawfirm.com
              Gail Lin Chung    on behalf of Plaintiff Christina Brooks gcl@raisnerroupinian.com,
               jenny--hoxha--5459@ecf.pacerpro.com
              Gary M. Kaplan    on behalf of Creditor    Nextdoor.com gkaplan@fbm.com, calendar@fbm.com
              Jacquelyn H. Choi    on behalf of Creditor    County of Los Angeles jacquelyn.choi@rimonlaw.com
              Jason Rosell     on behalf of Attorney    Official Committee of Unsecured Creditors
               jrosell@pszjlaw.com, mrenck@pszjlaw.com
              Jennifer C. Hayes    on behalf of Debtor    Munchery, Inc. jhayes@fhlawllp.com
              John D. Fiero    on behalf of Attorney    Official Committee of Unsecured Creditors
               jfiero@pszjlaw.com, ocarpio@pszjlaw.com
              Julie C. Reagin    on behalf of Creditor    IRS julie.reagin@usdoj.gov, manik.bowie@usdoj.gov
              June Monroe     on behalf of Creditor    L.A. Specialty Produce Co. dba San Francisco Specialty
               june@rjlaw.com, shelly@rjlaw.com
              Krikor J. Meshefejian    on behalf of Creditor    Urban Leaf Co. dba The Produce Company
               kjm@lnbyb.com
              Kristen G. Hilton    on behalf of Creditor    Triple B Corporation dba Charlies Produce
               Jbolstad@sussmanshank.com
              Kyle Mathews     on behalf of Creditor    Comerica Bank kmathews@sheppardmullin.com
              Laurie Hager     on behalf of Creditor    Triple B Corporation dba Charlies Produce
               lhager@sussmanshank.com
              Leonardo D. Drubach    on behalf of Creditor    EUREKA VENTURES VI, LLC leo@9000Law.com
              Michael Lauter     on behalf of Creditor    Comerica Bank mlauter@sheppardmullin.com
              Mikel R. Bistrow    on behalf of Creditor    PayPal, Inc. sometimes doing business as Braintree
               mikel.bistrow@dinsmore.com, caron.burke@dinsmore.com
              Office of the U.S. Trustee / SF    USTPRegion17.SF.ECF@usdoj.gov
              Robert G. Harris    on behalf of Interested Party Conrad Chu rob@bindermalter.com
              Ryan A. Witthans    on behalf of Debtor    Munchery, Inc. rwitthans@fhlawllp.com
              Stephen D. Finestone    on behalf of Debtor    Munchery, Inc. sfinestone@fhlawllp.com
         Case: 19-30232            Doc# 403         Filed: 09/16/20          Entered: 09/16/20 21:15:58                Page 1 of
                                                                 5
District/off: 0971-3         User: bgapuz                 Page 2 of 2                  Date Rcvd: Sep 14, 2020
                             Form ID: pdfeoc              Total Noticed: 6


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Steven T. Gubner   on behalf of Creditor    Ryder System, Inc. sgubner@ebg-law.com, ecf@bg.law
              Terri H. Didion   on behalf of Debtor    Munchery, Inc. terri.didion@usdoj.gov,
               patti.vargas@usdoj.gov
              Trevor Ross Fehr   on behalf of U.S. Trustee    Office of the U.S. Trustee / SF
               trevor.fehr@usdoj.gov
                                                                                              TOTAL: 26




       Case: 19-30232       Doc# 403     Filed: 09/16/20     Entered: 09/16/20 21:15:58       Page 2 of
                                                      5
                                                      Entered on Docket
                                                      September 14, 2020
                                                      EDWARD J. EMMONS, CLERK
                                                      U.S. BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF CALIFORNIA


 1    Jacquelyn H. Choi (SBN 211560)                  Signed and Filed: September 14, 2020
      RIMON, P.C.
 2    2029 Century Park East, Suite 400N
      Los Angeles, CA 90067-2905
 3
      Telephone: (310) 525-5859
 4    Facsimile: (310) 525-5859
      jacquelyn.choi@rimonlaw.com                  __________________________________________
                                                   HANNAH L. BLUMENSTIEL
 5
                                                   U.S. Bankruptcy Judge
      Attorneys for Creditor,
 6    LOS ANGELES COUNTY
 7

 8                                UNITED STATES BANKRUPTCY COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

 10                                       SAN FRANCISCO DIVISION

 11
 12    In re:                                                   Case No. 19-30232 (HLB)
 13    MUNCHERY, INC.                                           Chapter 11
 14                              Debtor and
                                 Debtor-in-Possession.          ORDER TO EXTEND LOS ANGELES
 15                                                             COUNTY¶6'EADLINE TO RESPOND
                                                                AND REQUEST HEARING ON
 16                                                             OBJECTION TO CLAIM OF LOS
                                                                ANGELES COUNTY (CLAIM NO. 45)
 17
 18
                                                                [NO HEARING REQUIRED]
 19
 20             Munchery, Inc., the debtor and debtor-in-SRVVHVVLRQ WKH³Debtor´ LQWKHDERYH-captioned

 21   bankruptcy case and the Los Angeles County ³County´ and collectively with the Debtor, the

 22   ³Parties´ , entered into a Second Stipulation and [Proposed] Order to Extend Los Angeles County¶V

 23   Deadline to Respond and Request Hearing on Objection to Claim of Los Angeles County (Claim No.

 24     WKH³Second Stipulation´ , which was filed in the above-captioned Court on September 14, 2020

 25   [Docket No. 399],1

 26
 27             1
                 Unless otherwise defined herein, all capitalized terms shall have the same meaning as ascribed to
      them in the Second Stipulation.
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Case: 19-30232       Doc# 403      Filed: 09/16/20       Entered: 09/16/20 21:15:58            Page 3 of
                                                5
 1           Upon consideration of the Second Stipulation as Docket No. 399, and good cause appearing

 2    therefore, the Court hereby orders as follows:

 3           1. 7KH&RXQW\¶V5HVSRQVH'HDGOLQHLVKHUHE\H[WHQGHGIURPSeptember 21, 2020 through

 4               and including October 5, 2020; and

 5           2. Any and all other deadlines are hereby extended in accordance with Local Bankruptcy

 6               Rules 3007-1 and Rule 9014-1.

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                                            **END OF ORDER**
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Case: 19-30232     Doc# 403      Filed: 09/16/20       Entered: 09/16/20 21:15:58   Page 4 of
                                              5
 1                                        COURT SERVICE LIST

 2

 3    ECF Recipients

 4

 5    VIA U.S. MAIL

 6    Armanino, LLP
      12657 Alcosta Blvd., Suite 500
 7    San Ramon, CA 94583
 8
      James Beriker
 9    220 Shaw Rd.
      South San Francisco, CA 94080
 10
      David S. Catuogno
 11   K&L Gates LLP
 12   1 Newark Center, 10th Fl.
      Newark, NJ 07102
 13
      Daniel M. Eliades
 14   K&L Gates LLP
      1 Newark Center, 10th Fl.
 15   Newark, NJ 07102
 16
      Gail C. Lin
 17   Outten & Golden LLP
      One California Street, Suite 1250
 18   San Francisco, CA 94111
 19   Pachulski Stang Ziehl & Jones LLP
 20   150 California St., 15th Floor
      San Francisco, CA 94111-4500
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Case: 19-30232     Doc# 403       Filed: 09/16/20   Entered: 09/16/20 21:15:58   Page 5 of
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